               Case 2:14-cr-00307-WKW-CSC Document 123 Filed 10/29/15 Page 1 of 5

AO 245D        (Rev. 09/I1) Judgment in a Criminal Case for Revocations
               Sheet I



                                       UNITED S TATE S DISTRICT COURT
                                                            Middle District of Alabama
                                                                                                     Amended
          UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                               V.                                          (For Revocation of Probation or Supervised Release)
          MARCUS MAN DRELL HARRIS

                                                                           Case No. 2:14cr307-03-WKW
                                                                           USM No, 15386-002
                                                                            Brandon Thomas
                                                                                                     Defendant's Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)           15                                 of the term of supervision.
E was found in violation of condition(s)                                               after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                              Nature of Violation                                       Violation Ended
           1                        Committed the offense of Threatening a Federal Official                            10/05/2015

           2                        Failed to refrain from the use of a controlled substance                       06/29/2015

           3                        Failed to refrain from the use of a controlled substance                       09/22/2015

           4                        Failed to work regularly at a lawful occupation                                    10/23/2015

       The defendant is sentenced as provided in pages 2 through                5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
E The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judrnent are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5667                         10/23/2015
                                                                                                    ate of
Defendant's Year of Birth:             1989                                                             4fJuent

City and State of Defendant's Residence:                                                               Signature of Judge
                Montgomery, Alabama
                                                                          W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                                    Name and Title of Judge
                                                                                     I       /,-
                                                                                                5
                                                                                         /                      Date
              Case 2:14-cr-00307-WKW-CSC Document 123 Filed 10/29/15 Page 2 of 5


AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet IA

                                                                                  Judgment—Page   2    of     5
DEFENDANT: MARCUS MANDRELL HARRIS
CASE NUMBER: 2:14cr307-03-WKW

                                                          ADDITIONAL VIOLATIONS

                                                                                                      Violation
Violation Number                  Nature of Violation                                                 Concluded

          5                        Failed to pay restitution as ordered                               10/23/2015
               Case 2:14-cr-00307-WKW-CSC Document 123 Filed 10/29/15 Page 3 of 5


  AO 245D      (Rev. 09/I1) Judgment in a Criminal Case for Revocations
               Sheet 2—Imprisonment

                                                                                                             Judgment - Page       3      of         5
  DEFENDANT: MARCUS MANDRELL HARRIS
  CASE NUMBER: 2:14cr307-03-WKW


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term of:
14 Months. The term of probation imposed on February 26, 2015 is revoked. The Court finds that the sentence is reasonable when considering the following
factors found at 1 8USC 3553(a) - 1) the nature and circumstances of the offense and the history and characteristics of the defendant; 2) to reflect the
seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense; 3) to protect the public from further crimes of the
defendant; 4) to provide correctional treatment in the most effective manner and 5) to avoid unwarranted sentence disparities among defendants.


       El The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.

       El The defendant shall surrender to the United States Marshal for this district:

            El at                                     D a.m.         0 P.M.       on
            El as notified by the United States Marshal.


       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            El before 2 p.m. on

            D    as notified by the United States Marshal.
            El as notified by the Probation or Pretrial Services Office.


                                                                          RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                             IN

  at                                                     with a certified copy of this judgment.




                                                                                                        UNITED STATES MARSHAL


                                                                               By
                                                                                                    DEPUTY UNITED STATES MARSHAL
            Case 2:14-cr-00307-WKW-CSC Document 123 Filed 10/29/15 Page 4 of 5


AO 245D     (Rev. 09/11 ) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release

                                                                                                   Judgment—Page 4         of         5
DEFENDANT: MARCUS MANDRELL HARRIS
CASE NUMBER: 2:14cr307-03-WKW
                                SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
34 Months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
El    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
El    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
El    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
           Case 2:14-cr-00307-WKW-CSC Document 123 Filed 10/29/15 Page 5 of 5


 AO 245D    (Rev, 09/I1) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release

                                                                                          Judgment—Page    5     of      5
 DEFENDANT: MARCUS MANDRELL HARRIS
 CASE NUMBER: 2:14cr307-03-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION


Upon release from the custody of the Bureau of Prisons, the defendant shall reside in a residential reentry center
maintained under contract to the Bureau of Prisons for a term of six months and shall comply with the rules of that facility.

Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any
treatment based on ability to pay and the availability of third-party payments.

Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.

Defendant shall obtain and maintain full-time vertifiable employment.

Defendant shall participate in mental health counseling, if deemed necessary by the probation office.
